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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            2:16-CR-00025-TLN
12                  Plaintiff,
                                                          FINAL ORDER OF FORFEITURE
13          v.
14   LUIS ALBERTO FERNANDEZ
     CONTRERAS,
15
                    Defendant.
16

17

18          On July 18, 2017, this Court entered a Preliminary Order of Forfeiture pursuant to the provisions

19 of 21 U.S.C. § 853(a), based upon the plea agreement entered into between plaintiff and defendant Luis
20 Alberto Fernandez Contreras forfeiting to the United States the following property:

21                  a.      Approximately $17,949.00 of the $18,949.00 in U.S. Currency.

22          Beginning on August 4, 2017, for at least 30 consecutive days, the United States published notice

23 of the Court’s Order of Forfeiture on the official internet government forfeiture site www.forfeiture.gov.

24 Said published notice advised all third parties of their right to petition the Court within sixty (60) days

25 from the first day of publication of the notice for a hearing to adjudicate the validity of their alleged
26 legal interest in the forfeited property.

27          The United States sent direct written notice by certified mail to the following individuals known

28 to have an alleged interest in the property:
                                                          1
29                                                                                            Final Order of Forfeiture

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 1                   a.      Gayton Navarro and Barbara Gaytan Navarro: A notice letter was sent via

 2 certified mail to Gayton Navarro and Barbara Gaytan Navarro at 1155 Indiana Street, Gridley, CA

 3 95948 on September 6, 2017. The PS Form 3811 (certified mail “green card” showing delivery of mail)

 4 was signed on September 11, 2017.

 5          The Court has been advised that no third party has filed a claim to the subject property, and the

 6 time for any person or entity to file a claim has expired.

 7          Accordingly, it is hereby ORDERED and ADJUDGED:

 8          1.       A Final Order of Forfeiture shall be entered forfeiting to the United States all right, title,

 9 and interest in the above-listed property pursuant to 21 U.S.C. § 853(a), including all right, title, and

10 interest of Luis Alberto Fernandez Contreras, Gayton Navarro, and Barbara Gaytan Navarro.

11          2.       All right, title, and interest in the above-listed property shall vest solely in the name of the

12 United States of America.

13          3.       The U.S. Marshals Service shall maintain custody of and control over the subject

14 property until it is disposed of according to law.

15          4.       Within sixty (60) days from entry of this Final Order of Forfeiture forfeiting the above-

16 listed property, the U.S. Marshals Service shall return $1,000.00 of the $18,949.00 in U.S. Currency to

17 defendant Luis Alberto Fernandez Contreras through attorney Greg Foster.

18          SO ORDERED this 20th day of October, 2017.

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22                                                           Troy L. Nunley
23                                                           United States District Judge

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29                                                                                               Final Order of Forfeiture

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